Case 1:22-cv-02384-CNS-SKC Document 1 Filed 09/15/22 USDC Colorado Page 1 of 24




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

  Civil Action No.

  MINCHIE GALOT CUPAT, Individually
  and on Behalf of All Others Similarly
  Situated,

                                     Plaintiff,
                                                        JURY TRIAL DEMANDED
                           v.

  PALANTIR TECHNOLOGIES INC.,
  ALEXANDER C. KARP, DAVID GLAZER,
  and SHYAM SANKAR,

                                     Defendants.

  ______________________________________________________________________________

          CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                                SECURITIES LAWS
  ______________________________________________________________________________


         Plaintiff Minchie Galot Cupat (“Plaintiff”), individually and on behalf of all others

  similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against

  Defendants, alleges the following based upon personal knowledge as to Plaintiff and Plaintiff’s

  own acts, and information and belief as to all other matters, based upon, inter alia, the investigation

  conducted by and through Plaintiff’s attorneys, which included, among other things, a review of

  the Defendants’ public documents, conference calls and announcements made by Defendants,

  United States (“U.S.”) Securities and Exchange Commission (“SEC”) filings, wire and press

  releases published by and regarding Palantir Technologies Inc. (“Palantir” or the “Company”),




                                                    1
Case 1:22-cv-02384-CNS-SKC Document 1 Filed 09/15/22 USDC Colorado Page 2 of 24




  analysts’ reports and advisories about the Company, and information readily obtainable on the

  Internet. Plaintiff believes that substantial, additional evidentiary support will exist for the

  allegations set forth herein after a reasonable opportunity for discovery.

                                    NATURE OF THE ACTION

         1.      This is a federal securities class action on behalf of a class consisting of all persons

  and entities other than Defendants that purchased or otherwise acquired Palantir securities between

  November 9, 2021 and May 6, 2022, both dates inclusive (the “Class Period”), seeking to recover

  damages caused by Defendants’ violations of the federal securities laws and to pursue remedies

  under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and

  Rule 10b-5 promulgated thereunder, against the Company and certain of its top officials.

         2.      Palantir builds and deploys software platforms to assist the U.S. intelligence

  community in counterterrorism investigations and operations. The Company has two operating

  segments, commercial and government, with the latter primarily serving agencies in the U.S.

  federal government and non-U.S. governments. Palantir also invests in so-called “marketable

  securities” consisting of equity securities in publicly-traded companies.

         3.      Palantir has consistently described sources of geopolitical instability and other

  disruptions—e.g., armed conflicts, economic crises, and the COVID-19 pandemic—as tailwinds

  for its business, given that the Company’s products and services are purportedly built to aid its

  customers in assessing and responding to such disruptions.

         4.      Throughout the Class Period, Defendants made materially false and misleading

  statements regarding the Company’s business, operations, and prospects. Specifically, Defendants

  made false and/or misleading statements and/or failed to disclose that: (i) Palantir’s investments



                                                    2
Case 1:22-cv-02384-CNS-SKC Document 1 Filed 09/15/22 USDC Colorado Page 3 of 24




  in marketable securities were having a significant negative impact on the Company’s earnings per

  share (“EPS”) results; (ii) Palantir overstated the sustainability of its government segment’s growth

  and revenues; (iii) Palantir was experiencing a significant slowdown in revenue growth,

  particularly among its government customers, despite ongoing global conflicts and market

  disruptions; (iv) as a result of all the foregoing, the Company was likely to miss consensus

  estimates for its first quarter 2022 (“Q1”) EPS and second quarter 2022 (“Q2”) sales outlook; and

  (v) as a result, the Company’s public statements were materially false and misleading at all relevant

  times.

           5.    On May 9, 2022, Palantir issued a press release announcing its Q1 financial results

  and guidance for Q2. For Q1, Palantir announced adjusted EPS of $0.02, compared to analyst

  estimates of $0.04 per share, noting on a conference call that the “[f]irst quarter adjusted [EPS of]

  $0.02 . . . includes a negative $0.02 impact driven primarily by unrealized losses on marketable

  securities.” The Company also disclosed that government revenue grew by only 16% year-over-

  year for Q1, representing a significant slowdown in revenue growth compared to prior quarters,

  and that, for Q2, the Company expected $470 million in sales, compared to estimates of $483.76

  million.

           6.    On this news, Palantir’s stock price fell $2.02 per share, or 21.31%, to close at $7.46

  per share on May 9, 2022.

           7.    As multiple news outlets reported that day, Palantir’s significant decline in revenue

  growth, particularly from its government customers, surprised investors, especially given the

  ongoing geopolitical instability and other disruptions caused by, inter alia, the ongoing COVID-




                                                   3
Case 1:22-cv-02384-CNS-SKC Document 1 Filed 09/15/22 USDC Colorado Page 4 of 24




  19 pandemic and Russo-Ukrainian War—that is, precisely the type of destabilizing conditions that

  the Company had previously touted as tailwinds for its business.

         8.      As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

  in the market value of the Company’s securities, Plaintiff and other Class members have suffered

  significant losses and damages.

                                    JURISDICTION AND VENUE

         9.      The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

  the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

  SEC (17 C.F.R. § 240.10b-5).

         10.     This Court has jurisdiction over the subject matter of this action pursuant to 28

  U.S.C. § 1331 and Section 27 of the Exchange Act.

         11.     Venue is proper in this Judicial District pursuant to Section 27 of the Exchange Act

  (15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b). Palantir is headquartered in this Judicial District,

  Defendants conduct business in this Judicial District, and a significant portion of Defendants’

  actions took place within this Judicial District.

         12.     In connection with the acts alleged in this complaint, Defendants, directly or

  indirectly, used the means and instrumentalities of interstate commerce, including, but not limited

  to, the mails, interstate telephone communications, and the facilities of the national securities

  markets.




                                                      4
Case 1:22-cv-02384-CNS-SKC Document 1 Filed 09/15/22 USDC Colorado Page 5 of 24




                                               PARTIES

          13.     Plaintiff, as set forth in the attached Certification, acquired Palantir securities at

  artificially inflated prices during the Class Period and was damaged upon the revelation of the

  alleged corrective disclosures.

          14.     Defendant Palantir is a Delaware corporation with principal executive offices

  located at 1555 Blake Street, Suite 250, Denver, Colorado 80202. Palantir’s Class A common

  stock trades in an efficient market on the New York Stock Exchange (“NYSE”) under the trading

  symbol “PLTR”.

          15.     Defendant Alexander C. Karp (“Karp”) has served as Palantir’s Chief Executive

  Officer at all relevant times.

          16.     Defendant David Glazer (“Glazer”) has served as Palantir’s Chief Financial Officer

  at all relevant times.

          17.     Defendant Shyam Sankar (“Sankar”) has served as Palantir’s Chief Operating

  Officer at all relevant times.

          18.     Defendants Karp, Glazer, and Sankar are sometimes referred to herein as the

  “Individual Defendants.”

          19.     The Individual Defendants possessed the power and authority to control the

  contents of Palantir’s SEC filings, press releases, and other market communications.             The

  Individual Defendants were provided with copies of Palantir’s SEC filings and press releases

  alleged herein to be misleading prior to or shortly after their issuance and had the ability and

  opportunity to prevent their issuance or to cause them to be corrected. Because of their positions

  with Palantir, and their access to material information available to them but not to the public, the



                                                    5
Case 1:22-cv-02384-CNS-SKC Document 1 Filed 09/15/22 USDC Colorado Page 6 of 24




  Individual Defendants knew that the adverse facts specified herein had not been disclosed to and

  were being concealed from the public, and that the positive representations being made were then

  materially false and misleading. The Individual Defendants are liable for the false statements and

  omissions pleaded herein.

         20.      Palantir and the Individual Defendants are collectively referred to herein as

  “Defendants.”

                                 SUBSTANTIVE ALLEGATIONS

                                             Background

         21.      Palantir builds and deploys software platforms to assist the U.S. intelligence

  community in counterterrorism investigations and operations. The Company has two operating

  segments, commercial and government, with the latter primarily serving agencies in the U.S.

  federal government and non-U.S. governments. Palantir also invests in so-called “marketable

  securities” consisting of equity securities in publicly-traded companies.

         22.      Palantir has consistently described sources of geopolitical instability and other

  disruptions—e.g., armed conflicts, economic crises, and the COVID-19 pandemic—as tailwinds

  for its business, given that the Company’s products and services are purportedly built to aid its

  customers in assessing and responding to such disruptions.

          Materially False and Misleading Statements Issued During the Class Period

         23.      The Class Period begins on November 9, 2021, when Palantir hosted a conference

  call with investors and analysts during pre-market hours to discuss the Company’s third quarter

  2021 results (the “3Q21 Earnings Call”). On the call, while discussing Palantir’s growing

  government customer base in his prepared remarks, Defendant Karp assured investors: “We have



                                                   6
Case 1:22-cv-02384-CNS-SKC Document 1 Filed 09/15/22 USDC Colorado Page 7 of 24




  a motivating set of customers and growing pipeline for big pursuits in ‘22 and beyond, and it is

  growing every quarter. We’re not just competing for programs. Our unique capabilities are

  creating their own opportunities.”

         24.     Similarly, also during his prepared remarks on the 3Q21 Earnings Call, Defendant

  Karp represented, in relevant part:

         One thing -- perhaps the one thing we have demonstrated to the market is that it is
         possible to sell software at scale to the government for programs of record where
         the government might have historically otherwise bought labor and services. And
         of course in doing so, we have radically transformed the margin profile of these big
         government contracts. There is an immense opportunity in this sector to partner
         with existing government contractors to productize their solutions that they are
         delivering as services today and in doing so, to transform the EBITDA they
         generate against their existing revenue with our platforms.

         25.     Moreover, in response to a question on the 3Q21 Earnings Call regarding “the

  future of Palantir’s Public Sector business, including if there are any billion-dollar contracts like

  the latest U.S. Army wins in the pipeline[,]” Defendant Sankar indicated that, because of multiple

  government contract wins in the quarter, Palantir was “uniquely position[ed] . . . for future U.S.

  Army programs[,]” while going on to state, in relevant part:

         But that’s just the army. We had incredible opportunity that Space force[] and at
         the Air Force, places that we are investing a lot, we’re building on [Indiscernible]
         Project from [Indiscernible] air force and that forecourt space force reporting to the
         Space domains awareness platform. A very unique position. We have many
         independent opportunities to extend the work that we have done under, under USDI
         and NGA into the Combatant Commands themselves to directly take on near-peer
         threats . . . . Beyond defense, we see immense opportunities in our pipeline across
         health from the NHF and VA to the NIH and HHS. We see new opportunities within
         the Defense Industrial Base in its own right as customers to help them with their
         own manufacturing, but also in being a strategic partner, helping them capture new
         revenue streams by AI enabling their hardware platforms. This pipeline has
         aggregated fee in building. And all of this is happening despite the macro
         headwinds that we’ve all heard about across government services.




                                                   7
Case 1:22-cv-02384-CNS-SKC Document 1 Filed 09/15/22 USDC Colorado Page 8 of 24




         COVID’s impact on delaying the pace of work. And we are just competing for
         known opportunities. Our capabilities are so unique, we’re creating our own
         opportunities. The macro factors here are big, big tailwinds for us. Clear consensus
         on the threat from an aggressive CCP, not only in terms of impacts on demand in
         the U.S. but also in Japan, Korea, Australia, the UK, the west and her allies broadly.
         The infrastructure bill, and our fit on the programs and awards that are being driven
         there. Carbon emissions management, EV charging infrastructure, building on our
         incredible commercial momentum in the mobility value chain. Delivery of major
         projects on time and on budget, and more broadly, the opportunity for SIs and
         primes on infrastructure projects to partner with Palantir, to develop their own high-
         margin software streams in place of historically low-margin nonrecurring services
         on our platforms. We are just at the beginning of big secular trends here. Trends
         that we anticipated and have invested in for years. We are uniquely positioned,
         cutting-edge product, ready to meet its moment.

         26.    Also on November 9, 2021, Palantir filed a quarterly report on Form 10-Q with the

  SEC, reporting the Company’s financial and operational results for the quarter ended September

  30, 2021 (the “3Q21 10-Q”). The 3Q21 10-Q stated, inter alia, that “[w]e have built lasting and

  significant customer relationships with some of the world’s leading government institutions” and

  “[w]e anticipate that our reach among an increasingly broad set of customers, in both the

  commercial and government sectors, will accelerate moving forward.”

         27.    With respect to marketable securities, the 3Q21 10-Q stated, in relevant part:

         Marketable securities . . . are recorded at fair market value each reporting period.
         Realized and unrealized gains and losses are recorded in other income (expense),
         net on the condensed consolidated statements of operations. During the three and
         nine months ended September 30, 2021, the Company recorded net unrealized
         losses of $7.2 million within other income (expense), net on the condensed
         consolidated statements of operations.

         28.    Appended as exhibits to the 3Q21 10-Q were signed certifications pursuant to the

  Sarbanes-Oxley Act of 2022 (“SOX”), wherein Defendants Karp and Glazer certified that the

  3Q21 10-Q “fully complies with the requirements of Section 13(a) or 15(d) of the [Exchange Act]




                                                   8
Case 1:22-cv-02384-CNS-SKC Document 1 Filed 09/15/22 USDC Colorado Page 9 of 24




  and that information contained in [the 3Q21 10-Q] fairly presents, in all material respects, the

  financial condition and results of operations of Palantir[.]”

         29.     On February 17, 2022, Palantir hosted a conference call with investors and analysts

  to discuss the Company’s fourth quarter and full year 2021 results (the “4Q/FY21 Earnings Call”).

  On the call, a Jefferies analyst commented that government “decelerate[d] pretty materially in Q1

  in terms of the growth” and asked Defendants for their “perspective on what’s happening on the

  government side?” In response, Defendant Karp downplayed issues with growth in Palantir’s

  government segment, while simultaneously assuring investors that Defendants had “solved” or

  were “solving” issues impacting that growth:

         Well, there’s a couple of things that are happening there. So if you were looking at
         this more like from a scientific perspective, you had a time series that’s 15 years,
         first thing you would do is say, okay, what’s happening in that time series over the
         15 years. What you see in U.S. gov is a compounded growth of 30%, but like this,
         which is the positive of U.S. gov is it’s reliable. The sums are big. The quality of
         the revenue is very high.

         The -- one of their -- essentially, there are a number of problems, but the biggest
         problem is barrier to entry, which we’ve clearly solved and then rebarriers to entry,
         which we’ve solved or solving, but that’s going very well. And then the second one
         is lumpiness. Now you -- that lumpiness still exists. And actually, in some ways,
         it’s worse because to get the integral to grow, you need these massive deals. We
         also have small deals, but the fact that we are on the biggest, most important parts
         of the U.S. government on our software is.

         So there’s really a twofold answer to your question. One, what will happen this
         year? Are there -- is there deceleration in actual one over a long time series? The
         answer is clearly no. But then the question is, if the baseline is 30, how does it get
         to where we want it, which was like the beginning of last year. And now at the end
         of last year, and the way that happens is the deals we’re already positioned to win
         actually closed.




                                                    9
Case 1:22-cv-02384-CNS-SKC Document 1 Filed 09/15/22 USDC Colorado Page 10 of 24




          30.     Defendant Karp, in response to the same question on the 4Q/FY21 Earnings Call,

   also represented that increasing global threats would boost Palantir’s government segment

   revenues, stating, in relevant part:

          [I]f you just look at that chart, I showed you with the [compound annual growth
          rate (CAGR)] on Foundry, these are the most important programs for a dangerous
          world.

          Now I can’t go into all the details, but we used to debate with people, especially
          my academic friends if the world was dangerous. The danger of the world being
          clear and present to the U.S. government is very protective. It doesn’t guarantee
          that when this integral actually -- how it behaves, but it makes it much more likely
          that it will happen here and positively affect our revenue which is another reason
          why I suspect that we will do well.

          31.     On February 24, 2022, Palantir filed an annual report on Form 10-K with the SEC,

   reporting the Company’s financial and operational results for the quarter and year ended December

   31, 2021 (the “2021 10-K”). The 2021 10-K contained the same statements as referenced in ¶ 26,

   supra, regarding Palantir’s government customer relationships and anticipated “accelerat[ing]”

   reach among an increasingly broad set of government customers, while representing, inter alia,

   that “customers are increasingly adopting our software . . . over internal software development

   efforts” as a result of “[r]ecent crises and systemic shocks, such as the COVID-19 pandemic[.]”

          32.     The 2021 10-K also purported to warn investors of market risks related to Palantir’s

   marketable securities investments, stating, in relevant part:

          As of December 31, 2021, we had outstanding investments valued at $234.2 million
          in marketable securities. We may continue to make additional investments or sell
          the existing investments. These investments are often in early- or growth-stage
          companies that have minimal public trading history; as such the fair value of these
          investments may fluctuate depending on the financial outcome and prospects of the
          investees, as well as global market conditions including recent and ongoing
          volatility related to the impacts of COVID-19. Additionally, early-stage companies
          are inherently risky because the technologies or products these companies have
          under development are typically in the early phases and may never materialize, and


                                                    10
Case 1:22-cv-02384-CNS-SKC Document 1 Filed 09/15/22 USDC Colorado Page 11 of 24




           they may experience a decline in financial condition, which could result in a loss
           of a substantial part of our investment in these companies. We record gains or losses
           as the fair value of these investments change and as we sell them. We anticipate
           additional volatility to our consolidated statements of operations due to changes in
           market prices, and as such gains and losses are realized. During the fiscal year
           ended December 31, 2021, net unrealized losses of $72.8 million related to
           marketable securities were recorded in other income (expense), net on the
           consolidated statements of operations.

   Plainly, the foregoing risk warning was a generic, boilerplate provision that was not tailored to

   Palantir’s actual known risks regarding the material negative impact that the Company’s

   marketable securities investments were having on the Company’s EPS results.

           33.     Appended as exhibits to the 2021 10-K were substantively the same SOX

   certifications as referenced in ¶ 28, supra, signed by Defendants Karp and Glazer.

           34.     The statements referenced in ¶¶ 23-33 were materially false and misleading because

   Defendants made false and/or misleading statements, as well as failed to disclose material adverse

   facts about the Company’s business, operations, and prospects. Specifically, Defendants made

   false and/or misleading statements and/or failed to disclose that: (i) Palantir’s investments in

   marketable securities were having a significant negative impact on the Company’s EPS results;

   (ii) Palantir overstated the sustainability of its government segment’s growth and revenues; (iii)

   Palantir was experiencing a significant slowdown in revenue growth, particularly among its

   government customers, despite ongoing global conflicts and market disruptions; (iv) as a result of

   all the foregoing, the Company was likely to miss consensus estimates for its Q1 EPS and Q2 sales

   outlook; and (v) as a result, the Company’s public statements were materially false and misleading

   at all relevant times.




                                                    11
Case 1:22-cv-02384-CNS-SKC Document 1 Filed 09/15/22 USDC Colorado Page 12 of 24




                                         The Truth Emerges

          35.    On May 9, 2022, during pre-market hours, Palantir issued a press release

   announcing its Q1 financial results, including adjusted EPS of $0.02, compared to analyst

   estimates of $0.04 per share. Palantir also disclosed that government revenue grew by only 16%

   year-over-year for Q1, representing a significant slowdown in revenue growth compared to prior

   quarters, and that, for Q2, the Company expected $470 million in sales, compared to estimates of

   $483.76 million.

          36.    Also on May 9, 2022, during pre-market hours, Palantir hosted a conference call

   with investors and analysts to discuss the Company’s Q1 results and Q2 guidance. On the call,

   Defendant Glazer disclosed that the Company’s “[f]irst quarter adjusted [EPS of] $0.02 . . .

   includes a negative $0.02 impact driven primarily by unrealized losses on marketable securities.”

          37.    Following these disclosures, Palantir’s stock price fell $2.02 per share, or 21.31%,

   to close at $7.46 per share on May 9, 2022.

          38.    As multiple news outlets reported that day, Palantir’s significant decline in revenue

   growth, particularly from its government customers, surprised investors, especially given the

   ongoing geopolitical instability and other disruptions caused by, inter alia, the ongoing COVID-

   19 pandemic and Russo-Ukrainian War—that is, precisely the type of destabilizing conditions that

   the Company had previously touted as tailwinds for its business.

          39.    For example, on May 9, 2022, Bloomberg published an article entitled “Palantir

   Craters Most Since 2020 on Wider-Than-Expected Loss[,]” stating that Palantir’s “shares

   plummeted as much as 22% . . . the biggest intraday drop since September 2020, after the software

   maker reported mounting losses and a disappointing sales forecast.” Blomberg noted, among other



                                                  12
Case 1:22-cv-02384-CNS-SKC Document 1 Filed 09/15/22 USDC Colorado Page 13 of 24




   issues, that “in the quarter that ended in March, revenue growth from government customers

   slowed to 16% with sales totaling $241.7 million[,]” representing “the slowest quarterly growth

   for the segment since Palantir began reporting results as a public company in late 2020[,]” even

   “despite new and expanded deals with agencies spurred by continuing fallout from the pandemic

   and rising geopolitical tensions, particularly the Russia-Ukraine conflict.”

          40.     Also on May 9, 2022, Investor’s Business Daily published an article entitled

   “Palantir Earnings, Revenue Guidance Miss Amid Slowing Government Growth[,]” which

   similarly noted that Palantir’s “stock plunged as revenue guidance came in below expectations

   amid slowing government growth.”

          41.     Likewise, on May 9, 2022, The Motley Fool published an article entitled “Why

   Palantir Stock Crashed Today[,]” stating that Palantir’s “slowing growth drove many investors to

   sell their shares” as “its larger government business saw revenue rise by only 16%, to $241

   million[,]” which “was a surprise to investors, as the company was widely believed to see

   significantly higher demand for its government- and defense-focused data services due to the war

   in Ukraine.”

          42.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

   in the market value of the Company’s securities, Plaintiff and other Class members have suffered

   significant losses and damages.

                         PLAINTIFF’S CLASS ACTION ALLEGATIONS

          43.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

   Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise

   acquired Palantir securities during the Class Period (the “Class”); and were damaged upon the



                                                   13
Case 1:22-cv-02384-CNS-SKC Document 1 Filed 09/15/22 USDC Colorado Page 14 of 24




   revelation of the alleged corrective disclosures. Excluded from the Class are Defendants herein,

   the officers and directors of the Company, at all relevant times, members of their immediate

   families and their legal representatives, heirs, successors or assigns and any entity in which

   Defendants have or had a controlling interest.

           44.       The members of the Class are so numerous that joinder of all members is

   impracticable. Throughout the Class Period, Palantir securities were actively traded on the NYSE.

   While the exact number of Class members is unknown to Plaintiff at this time and can be

   ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or

   thousands of members in the proposed Class. Record owners and other members of the Class may

   be identified from records maintained by Palantir or its transfer agent and may be notified of the

   pendency of this action by mail, using the form of notice similar to that customarily used in

   securities class actions.

           45.       Plaintiff’s claims are typical of the claims of the members of the Class as all

   members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

   federal law that is complained of herein.

           46.       Plaintiff will fairly and adequately protect the interests of the members of the Class

   and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

   no interests antagonistic to or in conflict with those of the Class.

           47.       Common questions of law and fact exist as to all members of the Class and

   predominate over any questions solely affecting individual members of the Class. Among the

   questions of law and fact common to the Class are:

                     whether the federal securities laws were violated by Defendants’ acts as alleged
                      herein;


                                                      14
Case 1:22-cv-02384-CNS-SKC Document 1 Filed 09/15/22 USDC Colorado Page 15 of 24




                    whether statements made by Defendants to the investing public during the Class
                     Period misrepresented material facts about the business, operations and
                     management of Palantir;

                    whether the Individual Defendants caused Palantir to issue false and misleading
                     financial statements during the Class Period;

                    whether Defendants acted knowingly or recklessly in issuing false and misleading
                     financial statements;

                    whether the prices of Palantir securities during the Class Period were artificially
                     inflated because of the Defendants’ conduct complained of herein; and

                    whether the members of the Class have sustained damages and, if so, what is the
                     proper measure of damages.

          48.       A class action is superior to all other available methods for the fair and efficient

   adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

   damages suffered by individual Class members may be relatively small, the expense and burden

   of individual litigation make it impossible for members of the Class to individually redress the

   wrongs done to them. There will be no difficulty in the management of this action as a class action.

          49.       Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-

   on-the-market doctrine in that:

                     Defendants made public misrepresentations or failed to disclose material facts
                      during the Class Period;

                     the omissions and misrepresentations were material;

                     Palantir securities are traded in an efficient market;

                     the Company’s shares were liquid and traded with moderate to heavy volume
                      during the Class Period;

                     the Company traded on the NYSE and was covered by multiple analysts;

                     the misrepresentations and omissions alleged would tend to induce a reasonable
                      investor to misjudge the value of the Company’s securities; and


                                                      15
Case 1:22-cv-02384-CNS-SKC Document 1 Filed 09/15/22 USDC Colorado Page 16 of 24




                      Plaintiff and members of the Class purchased, acquired and/or sold Palantir
                       securities between the time the Defendants failed to disclose or misrepresented
                       material facts and the time the true facts were disclosed, without knowledge of
                       the omitted or misrepresented facts.

           50.       Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

   presumption of reliance upon the integrity of the market.

           51.       Alternatively, Plaintiff and the members of the Class are entitled to the presumption

   of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v.

   United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information in

   their Class Period statements in violation of a duty to disclose such information, as detailed above.

                                                  COUNT I

   (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                      Against All Defendants)

           52.       Plaintiff repeats and re-alleges each and every allegation contained above as if fully

   set forth herein.

           53.       This Count is asserted against Defendants and is based upon Section 10(b) of the

   Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

           54.       During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

   course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,

   practices and courses of business which operated as a fraud and deceit upon Plaintiff and the other

   members of the Class; made various untrue statements of material facts and omitted to state

   material facts necessary in order to make the statements made, in light of the circumstances under

   which they were made, not misleading; and employed devices, schemes and artifices to defraud in

   connection with the purchase and sale of securities. Such scheme was intended to, and, throughout



                                                      16
Case 1:22-cv-02384-CNS-SKC Document 1 Filed 09/15/22 USDC Colorado Page 17 of 24




   the Class Period, did: (i) deceive the investing public, including Plaintiff and other Class members,

   as alleged herein; (ii) artificially inflate and maintain the market price of Palantir securities; and

   (iii) cause Plaintiff and other members of the Class to purchase or otherwise acquire Palantir

   securities and options at artificially inflated prices. In furtherance of this unlawful scheme, plan

   and course of conduct, Defendants, and each of them, took the actions set forth herein.

          55.     Pursuant to the above plan, scheme, conspiracy and course of conduct, each of the

   Defendants participated directly or indirectly in the preparation and/or issuance of the quarterly

   and annual reports, SEC filings, press releases and other statements and documents described

   above, including statements made to securities analysts and the media that were designed to

   influence the market for Palantir securities. Such reports, filings, releases and statements were

   materially false and misleading in that they failed to disclose material adverse information and

   misrepresented the truth about Palantir’s finances and business prospects.

          56.      By virtue of their positions at Palantir, Defendants had actual knowledge of the

   materially false and misleading statements and material omissions alleged herein and intended

   thereby to deceive Plaintiff and the other members of the Class, or, in the alternative, Defendants

   acted with reckless disregard for the truth in that they failed or refused to ascertain and disclose

   such facts as would reveal the materially false and misleading nature of the statements made,

   although such facts were readily available to Defendants. Said acts and omissions of Defendants

   were committed willfully or with reckless disregard for the truth. In addition, each Defendant

   knew or recklessly disregarded that material facts were being misrepresented or omitted as

   described above.




                                                    17
Case 1:22-cv-02384-CNS-SKC Document 1 Filed 09/15/22 USDC Colorado Page 18 of 24




           57.     Information showing that Defendants acted knowingly or with reckless disregard

   for the truth is peculiarly within Defendants’ knowledge and control. As the senior managers

   and/or directors of Palantir, the Individual Defendants had knowledge of the details of Palantir’s

   internal affairs.

           58.     The Individual Defendants are liable both directly and indirectly for the wrongs

   complained of herein.      Because of their positions of control and authority, the Individual

   Defendants were able to and did, directly or indirectly, control the content of the statements of

   Palantir. As officers and/or directors of a publicly-held company, the Individual Defendants had

   a duty to disseminate timely, accurate, and truthful information with respect to Palantir’s

   businesses, operations, future financial condition and future prospects.           As a result of the

   dissemination of the aforementioned false and misleading reports, releases and public statements,

   the market price of Palantir securities was artificially inflated throughout the Class Period. In

   ignorance of the adverse facts concerning Palantir’s business and financial condition which were

   concealed by Defendants, Plaintiff and the other members of the Class purchased or otherwise

   acquired Palantir securities at artificially inflated prices and relied upon the price of the securities,

   the integrity of the market for the securities and/or upon statements disseminated by Defendants,

   and were damaged thereby.

           59.     During the Class Period, Palantir securities were traded on an active and efficient

   market. Plaintiff and the other members of the Class, relying on the materially false and misleading

   statements described herein, which the Defendants made, issued or caused to be disseminated, or

   relying upon the integrity of the market, purchased or otherwise acquired shares of Palantir

   securities at prices artificially inflated by Defendants’ wrongful conduct. Had Plaintiff and the



                                                      18
Case 1:22-cv-02384-CNS-SKC Document 1 Filed 09/15/22 USDC Colorado Page 19 of 24




   other members of the Class known the truth, they would not have purchased or otherwise acquired

   said securities, or would not have purchased or otherwise acquired them at the inflated prices that

   were paid. At the time of the purchases and/or acquisitions by Plaintiff and the Class, the true

   value of Palantir securities was substantially lower than the prices paid by Plaintiff and the other

   members of the Class. The market price of Palantir securities declined sharply upon public

   disclosure of the facts alleged herein to the injury of Plaintiff and Class members.

             60.   By reason of the conduct alleged herein, Defendants knowingly or recklessly,

   directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

   promulgated thereunder.

             61.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

   other members of the Class suffered damages in connection with their respective purchases,

   acquisitions and sales of the Company’s securities during the Class Period, upon the disclosure

   that the Company had been disseminating misrepresented financial statements to the investing

   public.

                                               COUNT II

       (Violations of Section 20(a) of the Exchange Act Against the Individual Defendants)

             62.   Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

   paragraphs as if fully set forth herein.

             63.   During the Class Period, the Individual Defendants participated in the operation

   and management of Palantir, and conducted and participated, directly and indirectly, in the conduct

   of Palantir’s business affairs. Because of their senior positions, they knew the adverse non-public

   information about Palantir’s misstatement of income and expenses and false financial statements.



                                                    19
Case 1:22-cv-02384-CNS-SKC Document 1 Filed 09/15/22 USDC Colorado Page 20 of 24




          64.     As officers and/or directors of a publicly owned company, the Individual

   Defendants had a duty to disseminate accurate and truthful information with respect to Palantir’s

   financial condition and results of operations, and to correct promptly any public statements issued

   by Palantir which had become materially false or misleading.

          65.     Because of their positions of control and authority as senior officers, the Individual

   Defendants were able to, and did, control the contents of the various reports, press releases and

   public filings which Palantir disseminated in the marketplace during the Class Period concerning

   Palantir’s results of operations. Throughout the Class Period, the Individual Defendants exercised

   their power and authority to cause Palantir to engage in the wrongful acts complained of herein.

   The Individual Defendants, therefore, were “controlling persons” of Palantir within the meaning

   of Section 20(a) of the Exchange Act. In this capacity, they participated in the unlawful conduct

   alleged which artificially inflated the market price of Palantir securities.

          66.     Each of the Individual Defendants, therefore, acted as a controlling person of

   Palantir. By reason of their senior management positions and/or being directors of Palantir, each

   of the Individual Defendants had the power to direct the actions of, and exercised the same to

   cause, Palantir to engage in the unlawful acts and conduct complained of herein. Each of the

   Individual Defendants exercised control over the general operations of Palantir and possessed the

   power to control the specific activities which comprise the primary violations about which Plaintiff

   and the other members of the Class complain.

          67.     By reason of the above conduct, the Individual Defendants are liable pursuant to

   Section 20(a) of the Exchange Act for the violations committed by Palantir.




                                                     20
Case 1:22-cv-02384-CNS-SKC Document 1 Filed 09/15/22 USDC Colorado Page 21 of 24




                                       PRAYER FOR RELIEF

   WHEREFORE, Plaintiff demands judgment against Defendants as follows:

          A.      Determining that the instant action may be maintained as a class action under Rule

   23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class representative;

          B.      Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason

   of the acts and transactions alleged herein;

          C.      Awarding Plaintiff and the other members of the Class prejudgment and post-

   judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

          D.      Awarding such other and further relief as this Court may deem just and proper.

                                  DEMAND FOR TRIAL BY JURY

          Plaintiff hereby demands a trial by jury.

   Dated: September 15, 2022                               Respectfully submitted,

                                                           POMERANTZ LLP

                                                           /s/ Jeremy A. Lieberman
                                                           Jeremy A. Lieberman
                                                           J. Alexander Hood II
                                                           600 Third Avenue, 20th Floor
                                                           New York, New York 10016
                                                           Telephone: (212) 661-1100
                                                           Facsimile: (212) 661-8665
                                                           jalieberman@pomlaw.com
                                                           ahood@pomlaw.com

                                                           Attorneys for Plaintiff




                                                      21
        Case 1:22-cv-02384-CNS-SKC Document 1 Filed 09/15/22 USDC Colorado Page 22 of 24
DocuSign Envelope ID: EC3254E8-DCA9-45E4-9A6D-68705CCADD1C




                                             CERTIFICATION PURSUANT
                                           TO FEDERAL SECURITIES LAWS


                    1.      I, __________________________________________,
                                Minchie Galot Cupat                        make this declaration

            pursuant to Section 27(a)(2) of the Securities Act of 1933 (“Securities Act”) and/or Section

            21D(a)(2) of the Securities Exchange Act of 1934 (“Exchange Act”) as amended by the Private

            Securities Litigation Reform Act of 1995.

                    2.      I have reviewed a Complaint against Palantir Technologies Inc. (“Palantir” or the

            “Company”) and authorize the filing of a comparable complaint on my behalf.

                    3.      I did not purchase or acquire Palantir securities at the direction of plaintiffs’ counsel

            or in order to participate in any private action arising under the Securities Act or Exchange Act.

                    4.      I am willing to serve as a representative party on behalf of a Class of investors who

            purchased or otherwise acquired Palantir securities during the class period, including providing

            testimony at deposition and trial, if necessary. I understand that the Court has the authority to

            select the most adequate lead plaintiff in this action.

                    5.      The attached sheet lists all of my transactions in Palantir securities during the Class

            Period as specified in the Complaint.

                    6.      During the three-year period preceding the date on which this Certification is

            signed, I have not served or sought to serve as a representative party on behalf of a class under the

            federal securities laws.

                    7.      I agree not to accept any payment for serving as a representative party on behalf of

            the class as set forth in the Complaint, beyond my pro rata share of any recovery, except such

            reasonable costs and expenses directly relating to the representation of the class as ordered or

            approved by the Court.
        Case 1:22-cv-02384-CNS-SKC Document 1 Filed 09/15/22 USDC Colorado Page 23 of 24
DocuSign Envelope ID: EC3254E8-DCA9-45E4-9A6D-68705CCADD1C




                    8.      I declare under penalty of perjury under the laws of the United States of America

            that the foregoing is true and correct.




                      9/8/2022
            Executed _____________________________
                         (Date)



                                                             _______________________________________
                                                                   (Signature)


                                                              Minchie Galot Cupat
                                                             _______________________________________
                                                                    (Type or Print Name)
Case 1:22-cv-02384-CNS-SKC Document 1 Filed 09/15/22 USDC Colorado Page 24 of 24




    Palantir Technologies Inc. (PLTR)                                       Minchie Galot Cupat

                                              List of Purchases and Sales

         Transaction                                          Number of      Price Per
            Type                    Date                      Shares/Unit   Share/Unit

          Purchase                4/21/2022                       19        $13.0200
          Purchase                4/25/2022                       83        $12.0400
          Purchase                 5/6/2022                      245        $9.4800
